   Case 15-00040         Doc 67      Filed 05/31/18      Entered 05/31/18 10:47:10            Desc      Page 1
                                                        of 1

                                          Glenn Stearns, Chapter 13 Trustee
                                           801 Warrenville Road, Suite 650
                                                 Lisle, IL 60532-4350
                                       Ph: (630) 981-3888 Fax: (630) 981-3896
In re:
Carle R Wunderlich II                                     Case No. 15-00040
                                                          Account No. 0732


US BANK                                                   JOHN J LYNCH
4801 FREDERICA ST                                         1011 WARRENVILLE RD #150
BANKRUPTCY DEPT                                           LISLE, IL 60532
OWENSBORO, KY 42301




           NOTICE OF PAYMENT OF FINAL MORTGAGE CURE UNDER RULE 3002.1 (f)


     Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Glenn B. Stearns, files
this Notice of Final Cure Payment. The amount required to cure the default in the claim has been paid in full.

    Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder's proof of claim on the debtor (s), debtor(s) Counsel and the Chapter 13
Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating:

    1) Whether it agrees that the debtor(s) have paid in full the amount required to cure the default on the claim;
       and

    2) Whether the debtor(s) are otherwise current on all payments consistent with 11 U.S. C. § 1322(b)(5).

    The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends remain
unpaid as of the date of the statement, The statement shall be filed as a supplement to the holder's proof of claim
and is not subject to Rule 3001(f). Failure to notify may result in sanctions.


    The undersigned certifies that this notice was sent to the above named parties on May 31, 2018 .



                                                           /S/ Ryan Faye
                                                         For: Glenn Stearns, Chapter 13 Trustee, Standing Trustee
